Case 2:23-cv-14370-AMC Document 12 Entered on FLSD Docket 12/07/2023 Page 1 of 4




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                  FORT PIERCE DIVISION

                                CASE NO. 23-14370-CIV-CANNON

  ROBERT ALLEN AUSTIN,

         Plaintiff,

  v.

  ELIZABETH ROSE MCHUGH and
  JAMES WALTER MCCANN,

         Defendants.

  ________________________________/

                                   ORDER DISMISSING CASE

         THIS CAUSE is before the Court sua sponte. Plaintiff Robert Allen Austin, proceeding

  pro se, initiated this lawsuit by filing a Complaint on November 27, 2023, against Circuit Court

  Judge James Walter McCann and Court Magistrate Elizabeth Rose McHugh [ECF No. 1]. For the

  following reasons, this action is DISMISSED WITH PREJUDICE.

                                        FACTUAL BACKGROUND

         As alleged, Plaintiff sues two judges for allegedly “us[ing] an [a]ct of fraud to get plaintiff

  to consent to a illegal Motion to find respondent guilty by force for an indirect contempt of an

  illegal case hearing” [ECF No. 1 p. 4].         Plaintiff states that “Judge McCann signed the

  recommendation by Magistrate McHugh,” and that both judges were “acting in their [o]fficial

  [c]apacity” [ECF No. 1 p. 4]. Plaintiff asserts that this action arises under the Fourth, Thirteenth,

  and Fourteenth Amendments [ECF No. 1 p. 3]. Plaintiff requests “$9.0 trillion in actual damages”

  and “1.0 [t]rillion in punitive [d]amages” [ECF No. 1 p. 4]. Thereafter, Plaintiff has filed various

  incoherent and/or clearly procedurally proper Motions [ECF No. 6 (“Motion for Summary
Case 2:23-cv-14370-AMC Document 12 Entered on FLSD Docket 12/07/2023 Page 2 of 4

                                                              CASE NO. 23-14370-CIV-CANNON


  Judgment: For an Illegal Act of Fraud”); ECF No. 9 (“Motion: Request, Amend, Adjust tolling

  Time for Motion: Summary Judgment”); ECF No. 10 (Motion “of a staked claim by a Free

  Mason”); ECF No. 11 (“Motion: A Written Warning Shot is being sent Across your Bow(s) BY

  Me, Myself and I, Robert Allen Austin/ROBERT ALLEN AUSTIN”)].                    Plaintiff has also

  previously filed suit against these same judges in the Southern District of Florida for similarly

  meritless claims. See Austin v. McCann, et al., No. 20-cv-14367-DMM (S.D. Fla. Oct. 30, 2020)

  (sua sponte dismissal), aff’d, Austin v. Judge, 851 F. App’x 173 (11th Cir. 2021), cert. denied sub

  nom. Austin v. McCann, 142 S. Ct. 770 (2022), reh’g denied, 142 S. Ct. 1195 (2022); see also

  Austin v. McHugh et al., No. 22-cv-14225-AMC (S.D. Fla. Aug. 8, 2022) (dismissing nearly

  identical suit on the basis of absolute judicial immunity), aff’d, Austin v. McCann, No. 22-13157,

  2023 WL 3335312 (11th Cir. May 10, 2023).

                                           LEGAL STANDARDS

         When a complaint is patently frivolous or based on an indisputably meritless legal theory,

  and where amendment would be clearly futile, a district court has discretion to dismiss a complaint

  without giving plaintiff notice or an opportunity to respond. Surtain v. Hamlin Terrace Found,

  789 F.3d 1239, 1248 (11th Cir. 2015); Bilal v. Driver, 251 F.3d 1346, 1349 (11th Cir. 2001);

  Carroll v. Gross, 984 F.2d 392, 393 (11th Cir. 1993) (citing Neitzke v. Williams, 490 U.S. 319,

  327 (1989)).

         In determining whether to dismiss a complaint, a court must accept as true all factual

  allegations and construe them in the light most favorable to Plaintiff to determine if Plaintiff has

  stated a plausible claim for relief on its face. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009);

  Almanza v. United Airlines, Inc., 851 F.3d 1060, 1066 (11th Cir. 2017). A district court may

  dismiss a complaint for failure to state a claim based upon an affirmative defense that is “an



                                                   2
Case 2:23-cv-14370-AMC Document 12 Entered on FLSD Docket 12/07/2023 Page 3 of 4

                                                               CASE NO. 23-14370-CIV-CANNON


  obvious bar given the allegations” even if the defendant has not asserted the defense. Sibley v.

  Lando, 437 F.3d 1067, 1070 n.2 (11th Cir. 2005). The Eleventh Circuit has affirmed a district

  court’s sua sponte dismissal of a claim as patently frivolous and/or clearly unviable on absolute

  judicial immunity grounds. See, e.g., Burlison v. Angus, 737 F. App’x 523, 524 (11th Cir. 2018)

  (affirming district court’s sua sponte dismissal of plaintiff’s Section 1983 action against a state

  clerk as being “patently frivolous because its central claim was obviously barred by judicial

  immunity”); Austin, 851 F. App’x at 174.

                                                DISCUSSION

         The present case is subject to dismissal because there is no question that Plaintiff’s suit

  against the subject judges is patently unviable given the doctrine of absolute judicial immunity.

         “Judges are entitled to absolute judicial immunity from civil actions for the performance

  of judicial acts as long as they are not done “in the clear absence of all jurisdiction.” Sibley, 437

  F.3d at 1070; Roland v. Phillips, 19 F.3d 552, 555 (11th Cir. 1994). A judge acts in his or her

  judicial capacity by performing normal judicial functions, in chambers or open court, in cases

  pending before the judge. Sibley, 437 F.3d at 1070. Absolute judicial immunity extends to both

  cases seeking damages and injunctive relief against a judge. Bolin v. Story, 225 F.3d 1234, 1242

  (11th Cir. 2000).

         Here, Plaintiff sues both Defendants “in their [o]fficial [c]apacity” as judicial officers for

  actions taken in their normal judicial capacity, such as signing recommendations and entering court

  orders in a case pending before them [ECF No. 1 p. 4]. Nothing in Plaintiff’s filings indicates that

  the judicial officers were acting “in the clear absence of all jurisdiction.” See Sibley, 437 F.3d at

  1070. Thus, Defendants are entitled to absolute judicial immunity for their actions in the

  proceedings identified by Plaintiff, and any argument that Plaintiff could make to the contrary



                                                   3
Case 2:23-cv-14370-AMC Document 12 Entered on FLSD Docket 12/07/2023 Page 4 of 4

                                                            CASE NO. 23-14370-CIV-CANNON


  would be without any arguable merit. See Sibley, 437 F.3d at 1070; Napier v. Preslicka, 314 F.3d

  528, 531 (11th Cir. 2002). Further, any amendment by Plaintiff clearly would be futile and could

  not overcome the judicial immunity doctrine, warranting dismissal with prejudice. Accordingly,

  it is hereby

        ORDERED AND ADJUDGED as follows:

        1. Plaintiff’s Complaint [ECF No. 1] is DISMISSED WITH PREJUDICE.

        2. The Clerk of the Court shall CLOSE THIS CASE.

        3. All pending motions are DENIED AS MOOT.

           DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 7th day of December

  2023.



                                                     _________________________________
                                                     AILEEN M. CANNON
                                                     UNITED STATES DISTRICT JUDGE


  cc:      counsel of record

           Robert Allen Austin
           5996 S.W. Markel Street
           Palm City, Florida 34990
           (772) 882-5114
           Email: robert_austin46@aol.com
           PRO SE PLAINTIFF




                                                 4
